 8:04-cr-00264-LSC-TDT        Doc # 88     Filed: 11/16/05    Page 1 of 3 - Page ID # 368




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:04CR264
                                              )
                     Plaintiff,               )
                                              )                MEMORANDUM
       vs.                                    )                 AND ORDER
                                              )
CARLOS A. CAMARGO-SANCHEZ,                    )
                                              )
                     Defendant.               )

       This matter is before the court for initial review of the defendant’s “Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence by a person in Federal Custody”

(§ 2255). (Filing No. 87).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a ' 2255 motion, and describes the initial review

process:

       The motion, together with all the files, records, transcripts, and
       correspondence relating to the judgment under attack, shall be examined
       promptly by the judge to whom it is assigned. If it plainly appears from the
       face of the motion and any annexed exhibits and the prior proceedings in the
       case that the movant is not entitled to relief in the district court, the judge
       shall make an order for its summary dismissal and cause the movant to be
       notified. Otherwise, the judge shall order the United States Attorney to file
       an answer or other pleading within the period of time fixed by the court or to
       take such other action as the judge deems appropriate.

                             FACTUAL BACKGROUND

       Defendant pleaded guilty to Count I of the Indictment charging him with conspiracy

to distribute, and possess with the intent to distribute 500 grams or more of cocaine, in

violation of 21 U.S.C. § 846. (Filing No. 57). The court sentenced defendant to 60 months

in the custody of the Bureau of Prisons. (Filing No. 79). Defendant did not file a direct

appeal.
 8:04-cr-00264-LSC-TDT        Doc # 88     Filed: 11/16/05     Page 2 of 3 - Page ID # 369




       In his § 2255 motion defendant contends that based on his status as a deportable

alien his sentence will be served under circumstances that are more severe than those

facing a United States citizen. Specifically, defendant challenges his ineligibility for early

release to a halfway house and rewards            which are offered for participation in the

residential drug abuse program (DAP) under 18 U.S.C. § 3621.

                                    ANALYSIS

Ineligibility for Early Release

       In United States v. Lopez-Salas, 266 F.3d 842 (8th Cir. 2001), the Eighth Circuit held

that it is within the Bureau of Prison’s (BOP) discretion to categorically exclude inmates

who have had INS detainers filed against them from eligibility for early release after

completing a drug treatment program. Id. at 846. The court reasoned that the BOP has

categorically excluded from early release several groups of inmates who would otherwise

be eligible under the statute. Prisoners who have an INS detainer filed against them are

only one group. Id. at 848.

Conditions of Confinement

       Furthermore, with respect to defendant’s challenge to his ineligibility for a minimum

security facility, such as a half-way house, The Eighth Circuit held that the fact that a

deportable alien may be subject to some increases in the severity of the conditions of

confinement alone is not sufficient to make his case atypical or unusual. Id. at 849.

Therefore, “a departure on this basis is only appropriate in exceptional circumstances, such

as where there is a substantial, undeserved increase in the severity of conditions of

confinement.” Id. Here, defendant’s sentence does not rise to this level of severity.



                                              2
 8:04-cr-00264-LSC-TDT       Doc # 88     Filed: 11/16/05     Page 3 of 3 - Page ID # 370




       Therefore, it appears plainly from the face of the § 2255 motion and the record that

defendant is not entitled to relief. The claims are denied.

IT IS ORDERED:

       1.     Defendant’s “Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside or

              Correct Sentence by a person in Federal Custody” (Filing No. 87) is

              summarily dismissed;

       2.     A separate Judgment will be issued; and

       3.     The Clerk is directed to mail a copy of this Memorandum and Order to the

              Defendant at his last known address.



       DATED this 16th day of November, 2005.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge




                                             3
